Case 1:22-cv-06918-DG-TAM Document 16 Filed 05/01/23 Page 1 of 2 PageID #: 43

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                                                                                         May 1, 2023
VIA ECF
The Honorable Taryn A. Merkl, U.S.M.J.
U.S. District Court, Eastern District of New York
225 Cadman Plaza E
Brooklyn, NY 11201

                                Re:      Hernandez v. Happy Street LLC et al
                                         Case No.: 1:22-cv-06918-DG-TAM
Dear Honorable Magistrate Judge Merkl:

       This law firm represents plaintiff Aaron Hernandez (the “Plaintiff”) in the above-referenced
matter.

        This letter respectfully serves as a request for a enlargement of time to serve individual
defendant Slobodan Radivojevic a/k/a Bob Radivojevic (the “Individual Defendant”) and Happy
Street Too LLC to, through and including June 1, 2023.

       I.      Legal Argument

       A. The Court Should Grant a Short Extension of Time to Complete Service on the
          Individual Defendants

       Rule 4(m) provides, in relevant part:

       If a defendant is not served within 90 days after the complaint is filed, the court—
       on motion or on its own after notice to the plaintiff—must dismiss the action
       without prejudice against that defendant or order that service be made within a
       specified time. But if the plaintiff shows good cause for the failure, the court must
       extend the time for service for an appropriate period.

       George v. Pro. Disposables Int'l, Inc., 221 F. Supp. 3d 428, 432 (S.D.N.Y. 2016) (citing
Fed.R.Civ.P. 4(m)).

        Under Rule 4(m), a district court must grant a plaintiff an extension of time for service if
the plaintiff demonstrates good cause. Id. Even in the absence of good cause, however, district
courts have discretion to grant extensions of time to effect proper service. Id. (citing Zapata v. City
of New York, 502 F.3d 192, 196 (2d Cir. 2007)); see also Mares v. United States, 627 Fed.Appx.
21, 23 (2d Cir. 2015) (summary order) (“Although an extension of time is required when good
cause has been shown, a district court has wide latitude in deciding when to grant extensions absent
good cause.” (internal citation omitted)).




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Case 1:22-cv-06918-DG-TAM Document 16 Filed 05/01/23 Page 2 of 2 PageID #: 44




         “Good cause is measured against the plaintiff's reasonable efforts to effect service and the
prejudice to the defendant from the delay, and the court should look to whether the plaintiff was
diligent in making reasonable efforts to effect service.” Id. (citation omitted).

   i.         Good Cause Exists to Extend Plaintiff’s Deadline to Serve the Remaining Non-
              Appearing Defendants

        According to the affidavits of service filed on March 16, 2023 [Dckt. Nos. 12-13],
Plaintiff’s process servers attempted to serve the Individual Defendant and Happy Street Too LLC
on March 6, 2023, at two different addresses.

        Plaintiff has identified another address for Defendants, and Plaintiff’s process servers are
in the process of re-attempting service.

       Out of an abundance of caution, it is respectfully requested that the Court extend Plaintiff’s
deadline to serve the remaining non-appearing Defendants to, through and including, June 1, 2023.
        II.      Conclusion
        Thank you, in advance, for your time and attention to this matter.
                                                      Respectfully submitted,
                                                       LEVIN-EPSTEIN & ASSOCIATES, P.C.

                                                       By: /s/ Jason Mizrahi
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